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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND



  STATE OF RHODE ISLAND; et al.,

                   Plaintiffs,

         v.                                                C.A. No. 1:25-cv-128

  DONALD TRUMP, in his official capacity as
  President of the United States; et al.,

                   Defendants.


                                 DECLARATION OF BLAKE DOE

        Pursuant to 28 U.S.C. § 1746, I, Blake Doe, hereby declare as follows:

        1.      I am currently employed by the Institute of Museum and Library Services (IMLS).

 I am over the age of 18 and have personal knowledge of all the facts stated herein, except those

 matters stated upon information and belief; as to those matters, I believe them to be true.

        2.      I am submitting this declaration pseudonymously because I fear retaliation. But if

 the Court would like to know my name or job position, I would be willing to provide it ex parte

 and under seal.

        3.      This declaration supplements the declaration I submitted on April 3, 2025, with

 information that I have learned since that date.

        4.      On or before April 2, 2025, IMLS terminated at least 15 grants, including grants to

 California, Connecticut, and Washington under its “Grants to States” program and a number of

 other grants to museums and libraries.

        5.      On April 9, 2025, IMLS terminated the large majority of its remaining grants. It is

 my understanding that, on that date, IMLS terminated well over 1,000 grants. To my knowledge,

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 each termination notice stated both that the grant was “no longer consistent with the agencies

 priorities” and that the President’s March 14, 2025, executive order “mandates that the IMLS

 eliminate all non-statutorily required activities and functions.”

        6.      I have also learned that, currently, only two individuals are working in the Office

 of Library Services. Only one of those individuals has experience as a program officer. The other

 individual, who is currently serving as the acting deputy director of the Office of Library Services,

 is an administrative assistant who has no experience administering the agency’s grants or library

 grant programs.

        7.      Similarly, I have learned that only two individuals are currently working in the

 Office of Museum Services. Only one of those individuals is a program officer and the other is an

 acting deputy director.

        8.      In addition, I have learned that the only individual currently working in the Office

 of the Chief Financial Officer is the Chief Financial Officer. That individual does not have

 experience handling the technical aspects of processing payment requests, and it is my expectation

 that he would not be technically capable of issuing disbursements or reimbursements in a timely

 manner.

        9.      I declare under penalty of perjury under the laws of the United States that, to the

 best of my knowledge, the foregoing is true and correct. Executed on April 11, 2025.



                                                   /s/ Blake Doe
                                                       Blake Doe




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